

Harris v Rome Mem. Hosp. (2023 NY Slip Op 04276)





Harris v Rome Mem. Hosp.


2023 NY Slip Op 04276


Decided on August 11, 2023


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on August 11, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: PERADOTTO, J.P., BANNISTER, MONTOUR, AND GREENWOOD, JJ.


482 CA 22-01511

[*1]EMMETT HARRIS, PLAINTIFF-RESPONDENT,
vROME MEMORIAL HOSPITAL, DEFENDANT-APPELLANT, ET AL., DEFENDANTS. (APPEAL NO. 4.) 






GALE GALE &amp; HUNT, LLC, FAYETTEVILLE (ANDREW R. BORELLI OF COUNSEL), FOR DEFENDANT-APPELLANT. 
CHERUNDOLO LAW FIRM, PLLC, SYRACUSE (JOHN C. CHERUNDOLO OF COUNSEL), FOR PLAINTIFF-RESPONDENT. 


	Appeal from an order of the Supreme Court, Oneida County (Scott J. DelConte, J.), entered September 21, 2022. The order denied the cross-motion of defendant Rome Memorial Hospital to compel plaintiff to accept service of its supplemental bill of particulars. 
It is hereby ORDERED that said appeal is unanimously dismissed without costs.
Same memorandum as in Harris v Rome Mem. Hosp. ([appeal No. 1]
— AD3d — [Aug. 11, 2023] [4th Dept 2023]).
Entered: August 11, 2023
Ann Dillon Flynn
Clerk of the Court








